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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                            Alexandria Division




 GLENN MYER,

       Plaintiff,

 V.                                    Civil Action No. l:18-cv-723


 RALPH NORTHAM,
 et al.,

       Defendants.




                             Memorandtim Opinion

       THIS MATTER comes before the Court on Defendants Walgreen

 Pharmacies {Dkt. 73), Inova Pharmacy and Several Pharmacists at

 Inova (Dkt. 79), Governor Northam, the Individual State

 Defendants^, the Virginia Board of Pharmacy, Virginia Board of

 Nursing, Virginia Board of Physical Therapy (Dkt. 76), Bodies in

 Motion, Michael Mastrostefano (Dkt. 87), Aetna Insurance (Dkt.

 94), Sharon Bulova, Fairfax Adult Detention Center ("FADC"),

 Sheriff Stacey Kincaid, and Deputy Sheriff Omar Mercedes's (Dkt.

 91) (collectively ""Defendants") Motions to Dismiss Plaintiff's




 1 Individual State Defendants refers to the members and staff of the Virginia
 Boards of Nursing, Pharmacy, and Physical Therapy that were named in the
 Complaint including Tracey Alder, Jody H. Allen, Melvin L. Boone, Sr, Arena,
 L. Dailey, Jay Douglas, Sheila K.W. Elliott, Michael I. Elliott, Robin Hills,
 James L. Jenkins, Jr, Allen R. Jones, Jr, Linda Kleiner, Brenda Krohn,
 Elizabeth Locke, Mira Mariano, Susan Szasz Palmer, Jodi Power, Charlotte
 Ridout, Rafael Saenz, Paula Saxby, Sarah Schmidt, Rebecca Thornbury, Huong
 Vu, Cynthia Warriner, Stephanie Willinger.
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